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                  IN THE UNITED STATES DISTRICT COURT
                 FOR THE NORTHERN DISTRICT OF ILLINOIS
________________________________________

 STEWART ABRAMSON, individually and on
 behalf of a class of all persons and entities
 similarly situated,

                 Plaintiff,
                                                         Case No. 1:21-cv-02215
 vs.

 NORDIC ENERGY SERVICES LLC,
 WORLDWIDE TELECOM LLC and TINA
 PERROTTI

                 Defendants.



                        STIPULATION OF DISMISSAL WITH
                  PREJUDICE AS TO NORDIC ENERGY SERVICES LLC

        The plaintiff files this Stipulation of Dismissal with prejudice as to all claims against

Nordic Energy Services LLC pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) with each party to bear

their own costs and waiving all rights of appeal regarding those claims. The claims of the

putative class are dismissed without prejudice.



Dated: August 20, 2021                 PLAINTIFF,

                                       By:

                                       /s/ Anthony I. Paronich
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                                       Nordic Energy Services LLC
                                       By its counsel:

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                                 CERTIFICATE OF SERVICE

       I hereby certify that on August 20, 2021, a copy of the foregoing was filed electronically

and served by mail on anyone unable to accept electronic filing. Notice of this filing will be sent

by email to all parties by operation of the court’s electronic filing system.


                                                       /s/ Anthony I. Paronich
                                                       Anthony I. Paronich




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